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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY

IN RE YUM! BRANDS, INC.                         ) Lead Case No. 3:13-cv-00506-DJH
DERIVATIVE LITIGATION                           )
                                                ) JOINT STIPULATION TO DISMISS
                                                ) ACTION WITH PREJUDICE
                                                )
                                                )
                                                )
                                                )

       WHEREAS, on December 3, 2013 (Docket No. 40), this Court stayed this matter (the

“Action”) pending the outcome of a motion to dismiss in the related consolidated securities

action, captioned In re Yum! Brands, Inc. Securities Litigation, 3:13-cv-00463 (W.D. Ky.);

       WHEREAS, the Court granted the motion to dismiss in that case on December 23, 2014,

after which the plaintiffs appealed to the Sixth Circuit Court of Appeals;

       WHEREAS, on May 28, 2015 (Docket No. 49), this Court continued the stay of this

matter pending the outcome of that appeal;

       WHEREAS, the appeal was affirmed on August 20, 2015, and the mandate issued by the

Sixth Circuit Court of Appeals on September 11, 2015, thus lifting the stay of this action;

       WHEREAS, the parties have met and conferred about how to proceed with this action;

       NOW, THEREFORE, subject to the approval of the Court, the parties in the Action

stipulate and agree as follows:

       1.      Plaintiffs Jennifer Zona and Sandra Wollman hereby voluntarily dismiss the

Action, with prejudice, as to Plaintiffs Jennifer Zona and Sandra Wollman only, with each side to

bear their own attorneys’ fees and costs incurred in connection with the Action;




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      2.     This dismissal is without prejudice as to the Company or any other shareholder.

      IT IS SO STIPULATED.

AGREED BY:

COUNSEL FOR PLAINTIFFS:                  COUNSEL FOR DEFENDANTS:

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                                CERTIFICATE OF SERVICE
       I hereby certify that on October 14, 2015, I electronically filed the foregoing with the

Clerk of the United States District Court for the Western District of Kentucky through the

CM/ECF system, which will send a Notice of Electronic Filing to registered CM/ECF

participants in the above-referenced action.

                                               /s/ Frank J. Johnson
                                               FRANK J. JOHNSON




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